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    7 GARFIELD BEACH CVS LLC (Doe 1)

    8                               UNITED STATES DISTRICT COURT
    9                             CENTRAL DISTRICT OF CALIFORNIA
   10

   11 KEITH SULLIVAN,                                     Case No. 2:21−cv−05685−SVW−JPR
   12                      Plaintiff,                     STIPULATED PROTECTIVE
                                                          ORDER
   13             v.
   14 CVS HEALTH and DOES 1 TO 25,
        inclusive
   15
                           Defendant.
   16

   17            IT IS HEREBY STIPULATED by and between the Parties, by and through
   18 their respective counsel of record, that in order to facilitate the exchange of

   19 information and documents which may be subject to confidentiality limitations on

   20 disclosure due to federal laws, state laws, and privacy rights, the Parties stipulate as

   21 follows:

   22            1.        In this Stipulation and Protective Order, the words set forth below shall
   23 have the following meanings:

   24                      (a)    “Proceeding” means the above-entitled proceeding, titled Keith
   25 Sullivan v. CVS HEALTH, et al., Case No. 2:21−cv−05685−SVW−JPR.

   26                      (b)    “Court” means the United States District Court, Hon. Stephen V.
   27            Wilson, or any other judge to which this Proceeding may be assigned, including
   28            Court staff participating in such proceedings.
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    1                      (c)   “Confidential” means any information which is in the possession
    2            of a Designating Party who believes in good faith that such information is
    3            entitled to confidential treatment under applicable law.
    4                      (d)   “Confidential Materials” means any Documents, Testimony or
    5            Information as defined below designated as “Confidential” pursuant to the
    6            provisions of this Stipulation and Protective Order.
    7                      (e)   “Designating Party” means the Party that designates Materials as
    8            “Confidential.”
    9                      (f)   “Disclose” or “Disclosed” or “Disclosure” means to reveal,
   10            divulge, give, or make available Materials, or any part thereof, or any
   11            information contained therein.
   12                      (g)   “Documents” means (i) any “Writing,” “Original,” and
   13            “Duplicate” as those terms are defined by California Evidence Code §§ 250,
   14            255, and 260, which have been produced in discovery in this Proceeding by any
   15            person, and (ii) any copies, reproductions, or summaries of all or any part of
   16            the foregoing.
   17                      (h)   “Information” means the content of Documents or Testimony.
   18                      (i)   “Testimony” means all depositions, declarations or other
   19            testimony taken or used in this Proceeding.
   20            2.        The Designating Party shall have the right to designate as “Confidential”
   21 any Documents, Testimony or Information that the Designating Party in good faith

   22 believes to contain non-public information that is entitled to confidential treatment

   23 under applicable law.

   24            3.        The entry of this Stipulation and Protective Order does not alter, waive,
   25 modify, or abridge any right, privilege or protection otherwise available to any Party

   26 with respect to the discovery of matters, including but not limited to any Party’s right

   27 to assert the attorney-client privilege, the attorney work product doctrine, or other

   28 privileges, or any Party’s right to contest any such assertion.

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    1            4.        Any Documents, Testimony or Information to be designated as
    2 “Confidential” must be clearly so designated before the Document, Testimony or

    3 Information is Disclosed or produced. The ”Confidential” designation should not

    4 obscure or interfere with the legibility of the designated Information.

    5                      (a)   For Documents (apart from transcripts of depositions or other
    6            pretrial or trial proceedings), the Designating Party must affix the legend
    7            “Confidential” on each page of any Document containing such designated
    8            Confidential Material.
    9                      (b)   For Testimony given in depositions the Designating Party may
   10            either:
   11                            (i)    identify on the record, before the close of the deposition, all
   12                      “Confidential” Testimony, by specifying all portions of the Testimony
   13                      that qualify as “Confidential;” or
   14                            (ii)   designate the entirety of the Testimony at the deposition as
   15                      “Confidential” (before the deposition is concluded) with the right to
   16                      identify more specific portions of the Testimony as to which protection
   17                      is sought within thirty (30) days following receipt of the deposition
   18                      transcript. In circumstances where portions of the deposition Testimony
   19                      are designated for protection, the transcript pages containing
   20                      “Confidential” Information may be separately bound by the court
   21                      reporter, who must affix to the top of each page the legend
   22                      “Confidential,” as instructed by the Designating Party.
   23                      (c)   For Information produced in some form other than Documents,
   24            and for any other tangible items, including, without limitation, compact discs
   25            or DVDs, the Designating Party must affix in a prominent place on the exterior
   26            of the container or containers in which the Information or item is stored the
   27            legend “Confidential.” If only portions of the Information or item warrant
   28            protection, the Designating Party, to the extent practicable, shall identify the
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    1            “Confidential” portions.
    2            5.        The inadvertent production by any of the undersigned Parties or non-
    3 Parties to the Proceedings of any Document, Testimony or Information during

    4 discovery in this Proceeding without a “Confidential” designation, shall be without

    5 prejudice to any claim that such item is “Confidential” and such Party shall not be

    6 held to have waived any rights by such inadvertent production. In the event that any

    7 Document, Testimony or Information that is subject to a “Confidential” designation

    8 is inadvertently produced without such designation, the Party that inadvertently

    9 produced the document shall give written notice of such inadvertent production within
   10 twenty (20) days of discovery of the inadvertent production, together with a further

   11 copy of the subject Document, Testimony or                     Information designated as
   12 “Confidential” (the “Inadvertent Production Notice”).               Upon receipt of such
   13 Inadvertent Production Notice, the Party that received the inadvertently produced

   14 Document, Testimony or Information shall promptly destroy the inadvertently

   15 produced Document, Testimony or Information and all copies thereof, or, at the

   16 expense of the producing Party, return such together with all copies of such

   17 Document, Testimony or Information to counsel for the producing Party and shall

   18 retain only the “Confidential” designated Materials.            Should the receiving Party
   19 choose to destroy such inadvertently produced Document, Testimony or Information,

   20 the receiving Party shall notify the producing Party in writing of such destruction

   21 within ten (10) days of receipt of written notice of the inadvertent production. This

   22 provision is not intended to apply to any inadvertent production of any Information

   23 protected by attorney-client or work product privileges.             In the event that this
   24 provision conflicts with any applicable law regarding waiver of confidentiality

   25 through the inadvertent production of Documents, Testimony or Information, such

   26 law shall govern.

   27            6.        In the event that counsel for a Party receiving Documents, Testimony or
   28 Information in discovery designated as “Confidential” objects to such designation

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    1 with respect to any or all of such items, said counsel shall advise counsel for the

    2 Designating Party, in writing, of such objections, the specific Documents, Testimony

    3 or Information to which each objection pertains, and the specific reasons and support

    4 for such objections (the “Designation Objections”). The challenge shall proceed in

    5 full compliance with Local Rule 37. Pending a resolution of any Rule 37 Motion by

    6 the Court, any and all existing designations on the Documents, Testimony or

    7 Information at issue in such Motion shall remain in place. The Designating Party

    8 shall have the burden on any Designation Motion of establishing the applicability of

    9 its “Confidential” designation.          In the event that the Designation Objections are
   10 neither timely agreed to nor timely addressed in the Rule 37 Motion, then such

   11 Documents, Testimony or Information shall be de-designated in accordance with the

   12 Designation Objection applicable to such material.

   13            7.        Access to and/or Disclosure of Confidential Materials designated as
   14 “Confidential” shall be permitted only to the following persons:

   15                      (a)   the Court;
   16                      (b)   (1) Attorneys of record in the Proceedings and their affiliated
   17            attorneys, paralegals, clerical and secretarial staff employed by such attorneys
   18            who are actively involved in the Proceedings and are not employees of any
   19            Party. (2) In-house counsel to the undersigned Parties and the paralegal,
   20            clerical and secretarial staff employed by such counsel. Provided, however,
   21            that each non-lawyer given access to Confidential Materials shall be advised
   22            that such Materials are being Disclosed pursuant to, and are subject to, the
   23            terms of this Stipulation and Protective Order and that they may not be
   24            Disclosed other than pursuant to its terms;
   25                      (c)   those officers, directors, partners, members, employees and agents
   26            of all non-designating Parties that counsel for such Parties deems necessary to
   27            aid counsel in the prosecution and defense of this Proceeding; provided,
   28            however, that prior to the Disclosure of Confidential Materials to any such
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    1            officer, director, partner, member, employee or agent, counsel for the Party
    2            making the Disclosure shall deliver a copy of this Stipulation and Protective
    3            Order to such person, shall explain that such person is bound to follow the terms
    4            of such Order, and shall secure the signature of such person on a statement in
    5            the form attached hereto as “Exhibit 1”;
    6                      (d)   court reporters in this Proceeding for discovery-related hearings
    7            or depositions;
    8                      (e)   any deposition or discovery-related hearing witness in the
    9            Proceeding who previously has had access to the Confidential Materials, or
   10            who is currently or was previously an officer, director, partner, member,
   11            employee or agent of an entity that has had access to the Confidential Materials;
   12                      (f)   any deposition or discovery-related hearing witness in the
   13            Proceeding who previously did not have access to the Confidential Materials;
   14            provided, however, that each such witness given access to Confidential
   15            Materials shall be advised that such Materials are being Disclosed pursuant to,
   16            and are subject to, the terms of this Stipulation and Protective Order and that
   17            they may not be Disclosed other than pursuant to its terms;
   18                      (g)   mock jury participants, provided, however, that prior to the
   19            Disclosure of Confidential Materials to any such mock jury participant, counsel
   20            for the Party making the Disclosure shall deliver a copy of this Stipulation and
   21            Protective Order to such person, shall explain that such person is bound to
   22            follow the terms of such Order, and shall secure the signature of such person
   23            on a statement in the form attached hereto as “Exhibit 1”;
   24                      (h)   outside experts or expert consultants consulted by the undersigned
   25            Parties or their counsel in connection with the Proceeding, whether or not
   26            retained to testify at any oral hearing; provided, however, that prior to the
   27            Disclosure of Confidential Materials to any such expert or expert consultant,
   28            counsel for the Party making the Disclosure shall deliver a copy of this
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    1            Stipulation and Protective Order to such person, shall explain its terms to such
    2            person, and shall secure the signature of such person on a statement in the form
    3            attached hereto as “Exhibit 1”. It shall be the obligation of counsel, upon
    4            learning of any breach or threatened breach of this Stipulation and Protective
    5            Order by any such expert or expert consultant, to promptly notify counsel for
    6            the Designating Party of such breach or threatened breach; and
    7                      (i)   any other person that the Designating Party agrees to in writing.
    8            8.        Confidential Materials shall be used by the persons receiving them only
    9 for the purposes of preparing for, conducting, participating in the conduct of, and/or
   10 prosecuting and/or defending the Proceeding, and not for any business or other

   11 purpose whatsoever. This protective order does not apply to trial or pretrial or trial-

   12 related proceedings.

   13            9.        Any Party to the Proceeding (or other person subject to the terms of this
   14 Stipulation and Protective Order) may ask the Court, after appropriate notice to the

   15 other Parties to the Proceeding, to modify or grant relief from any provision of this

   16 Stipulation and Protective Order.

   17            10.       Entering into, agreeing to, and/or complying with the terms of this
   18 Stipulation and Protective Order shall not:

   19                      (a)   operate as an admission by any person that any particular
   20            Document, Testimony or Information marked “Confidential” contains or
   21            reflects trade secrets, proprietary, confidential or competitively sensitive
   22            business, commercial, financial or personal information; or
   23                      (b)   prejudice in any way the right of any Party (or any other person
   24            subject to the terms of this Stipulation and Protective Order):
   25                            (i)    to seek a determination by the Court of whether any
   26                      particular Confidential Material should be subject to protection as
   27                      “Confidential” under the terms of this Stipulation and Protective Order;
   28                      or
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    1                            (ii)   to seek relief from the Court on appropriate notice to all
    2                      other Parties to the Proceeding from any provision(s) of this Stipulation
    3                      and Protective Order, either generally or as to any particular Document,
    4                      Material or Information.
    5            11.       Any Party to the Proceeding who has not executed this Stipulation and
    6 Protective Order as of the time it is presented to the Court for signature may thereafter

    7 become a Party to this Stipulation and Protective Order by its counsel’s signing and

    8 dating a copy thereof and filing the same with the Court, and serving copies of such

    9 signed and dated copy upon the other Parties to this Stipulation and Protective Order.
   10            12.       Any Information that may be produced by a non-Party witness in
   11 discovery in the Proceeding pursuant to subpoena or otherwise may be designated by

   12 such non-Party as “Confidential” under the terms of this Stipulation and Protective

   13 Order, and any such designation by a non-Party shall have the same force and effect,

   14 and create the same duties and obligations, as if made by one of the undersigned

   15 Parties hereto.          Any such designation shall also function as a consent by such
   16 producing Party to the authority of the Court in the Proceeding to resolve and

   17 conclusively determine any motion or other application made by any person or Party

   18 with respect to such designation, or any other matter otherwise arising under this

   19 Stipulation and Protective Order.

   20            13.       If any person subject to this Stipulation and Protective Order who has
   21 custody of any Confidential Materials receives a subpoena or other process

   22 (“Subpoena”) from any government or other person or entity demanding production

   23 of Confidential Materials, the recipient of the Subpoena shall promptly give notice of

   24 the same by electronic mail transmission, followed by either express mail or overnight

   25 delivery to counsel of record for the Designating Party, and shall furnish such counsel

   26 with a copy of the Subpoena unless prohibited by law. Upon receipt of this notice,

   27 the Designating Party may, in its sole discretion and at its own cost, move to quash or

   28 limit the Subpoena, otherwise oppose production of the Confidential Materials, and/or

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    1 seek to obtain confidential treatment of such Confidential Materials from the

    2 subpoenaing person or entity to the fullest extent available under law. The recipient

    3 of the Subpoena may not produce any Documents, Testimony or Information pursuant

    4 to the Subpoena prior to the date specified for production on the Subpoena unless a

    5 court so allows.

    6            14.       Nothing in this Stipulation and Protective Order shall be construed to
    7 preclude either Party from asserting in good faith that certain Confidential Materials

    8 require additional protection. The Parties shall meet and confer to agree upon the

    9 terms of such additional protection.
   10            15.       If, after execution of this Stipulation and Protective Order, any
   11 Confidential Materials submitted by a Designating Party under the terms of this

   12 Stipulation and Protective Order is Disclosed by a non-Designating Party to any

   13 person other than in the manner authorized by this Stipulation and Protective Order,

   14 the non-Designating Party responsible for the Disclosure shall bring all pertinent facts

   15 relating to the Disclosure of such Confidential Materials to the immediate attention of

   16 the Designating Party.

   17            16.       This Stipulation and Protective Order is entered into without prejudice
   18 to the right of any Party to knowingly waive the applicability of this Stipulation and

   19 Protective Order to any Confidential Materials designated by that Party.              If the
   20 Designating Party uses Confidential Materials in a non-Confidential manner, then the

   21 Designating Party shall advise that the designation no longer applies.

   22            17.       Where any Confidential Materials, or Information derived from
   23 Confidential Materials, is included in any motion or other filing, the parties must

   24 comply with Local Rule 79-5.

   25            18.       The Parties shall meet and confer regarding the procedures for use of
   26 Confidential Materials at trial and shall move the Court for entry of an appropriate

   27 order.

   28            19.       Nothing in this Stipulation and Protective Order shall affect the
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    1 admissibility into evidence of Confidential Materials, or abridge the rights of any

    2 person to seek judicial review or to pursue other appropriate judicial action with

    3 respect to any ruling made by the Court concerning the issue of the status of Protected

    4 Material.

    5            20.       This Stipulation and Protective Order shall continue to be binding after
    6 the conclusion of this Proceeding and all subsequent proceedings arising from this

    7 Proceeding, except that a Party may seek the written permission of the Designating

    8 Party or may move the Court for relief from the provisions of this Stipulation and

    9 Protective Order. To the extent permitted by law, the Court shall retain jurisdiction
   10 to enforce, modify, or reconsider this Stipulation and Protective Order, even after the

   11 Proceeding is terminated.

   12            21.       Upon written request made within thirty (30) days after the settlement or
   13 other termination of the Proceeding, the undersigned Parties shall have thirty (30)

   14 days to either:           (a) promptly return to counsel for each Designating Party all
   15 Confidential Materials and all copies thereof (except that counsel for each Party may

   16 maintain in its files, in continuing compliance with the terms of this Stipulation and

   17 Protective Order, all work product, and one (1) copy of each pleading filed with the

   18 Court and one (1) copy of each deposition together with the exhibits marked at the

   19 deposition); (b) agree with counsel for the Designating Party upon appropriate

   20 methods and certification of destruction or other disposition of such Confidential

   21 Materials; or (c) as to any Documents, Testimony or other Information not addressed

   22 by subparagraphs (a) and (b), file a motion seeking a Court order regarding proper

   23 preservation of such Materials. To the extent permitted by law, the Court shall retain

   24 continuing jurisdiction to review and rule upon the motion referred to in sub-

   25 paragraph (c) herein.

   26            22.       After this Stipulation and Protective Order has been signed by counsel
   27 for all Parties, it shall be presented to the Court for entry. Counsel agree to be bound

   28 by the terms set forth herein with regard to any Confidential Materials that have been

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    1 produced before the Court signs this Stipulation and Protective Order.

    2            23.       The Parties and all signatories to the Certification attached hereto as
    3 “Exhibit 1” agree to be bound by this Stipulation and Protective Order pending its

    4 approval and entry by the Court. In the event that the Court modifies this Stipulation

    5 and Protective Order, or in the event that the Court enters a different Protective Order,

    6 the Parties agree to be bound by this Stipulation and Protective Order until such time

    7 as the Court may enter such a different Order. It is the Parties’ intent to be bound by

    8 the terms of this Stipulation and Protective Order pending its entry so as to allow for

    9 immediate production of Confidential Materials under the terms herein.
   10 This Stipulation and Protective Order may be executed in counterparts.

   11

   12 DATED: September _3_, 2021                 OAKWOOD LEGAL GROUP, LLP
   13

   14

   15                                            By:         /s/
                                                       Elan Zekster, Esq.
   16                                                  Attorney for Plaintiff KEITH SULLIVAN
   17

   18 DATED: September _3_, 2021                 MANNING & KASS
   19                                            ELLROD, RAMIREZ, TRESTER LLP

   20

   21
                                                 By:          /s/
   22                                                  Jeffrey M. Lenkov, Esq.
   23                                                  Joseph J. McCormack, Esq.
                                                       Attorneys for Defendant,
   24                                                  GARFIELD BEACH CVS LLC (Doe 1)
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    1                               EXHIBIT “1”; CERTIFICATE
    2            I, _______________________________, certify my understanding that
    3 Confidential Material is being disclosed to me pursuant to the terms and restrictions

    4 of the Stipulation and Protective Order dated ____________, 2021 in Keith Sullivan

    5 v. CVS HEALTH, et al., Case No. 2:21−cv−05685−SVW−JPR., in the United States

    6 District Court, Central District, and that I have been given a copy of and have read

    7 that Order and agreed to be bound by it. I understand that all Confidential Material

    8 and copies including, but not limited to, any notes or other transcription made from

    9 such protected documents, shall be returned to counsel for the party providing them
   10 or destroyed, no later than thirty (30) days after the termination of this proceeding. I

   11 understand that violation of the Stipulation and Protective Order by me or anyone

   12 acting under my direction may be treated as contempt of court.

   13            I declare under penalty of perjury under the laws of the State of California that
   14 these statements are true and correct.

   15

   16 Dated: ________________, 2021

   17                                    ________________________________________
   18
                                         Signature

   19                                    ________________________________________
   20                                    Print Name
   21
                                         ________________________________________
   22                                    Address
   23

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    1                                     ORDER
    2            GOOD CAUSE APPEARING, the Court hereby approves this Stipulated
    3 Protective Order.

    4

    5            IT IS SO ORDERED.
    6

    7 DATED: October 8, 2021

    8

    9
   10                                   By:
                                              HON. JEAN P. ROSENBLUTH
   11                                         U.S. MAGISTRATE JUDGE
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